Case: 1:25-cv-05846 Document #: 12-1 Filed: 06/04/25 Page 1 of 4 PageID #:261




                 UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


Kaiher Technology Co., Limited d/b/a
Kaiher-US,
                                          Case No.: 1-25-cv-05846
                    Plaintiff,

v.

SCAN2CAD INC.,                            DEMAND FOR A JURY TRIAL

                    Defendant.


            DECLARATION OF HONGCHANG DENG
IN SUPPORT OF PLAINTIFF’S MOTION FOR ELECTRONIC SERVICE
                       OF PROCESS

I, Hongchang DENG, declare and state as follows:

      1.      I am counsel for Plaintiff Kaiher Technology Co., Limited

( “ Plaintiff ” ) in this action. I submit this Declaration in support of Plaintiff ’ s

Motion for Electronic Service of Process pursuant to Federal Rule of Civil

Procedure 4(e) and 735 ILCS 5/2-203.1. The facts set forth herein are based on my

personal knowledge and investigation.

      2.      To determine the physical address of Defendant SCAN2CAD INC., I

first reviewed the Application Data Sheet filed on November 21, 2024, in

connection with the U.S. Design Patent No. D1,063,856 (“the ’856 Patent”or “the

Claimed Design”) in this case. That document lists the mailing address as “7901


                                          1
Case: 1:25-cv-05846 Document #: 12-1 Filed: 06/04/25 Page 2 of 4 PageID #:262




4th Street North, Suite 300, St. Petersburg, FL 33702.” A true and correct copy of

the Application Data Sheet is attached hereto as Exhibit 1.

      3.      I subsequently searched the official website of the Florida

Department          of          State,        Division        of        Corporations

(https://search.sunbiz.org/Inquiry/CorporationSearch/ByName), using the name

SCAN2CAD INC. The search results showed that the company lists the same

Florida address—“7901 4TH ST N STE 300 ST PETERSBURG, FL 33702”—as

both its Principal Address and its Registered Agent Address. A true and correct

copy of this corporate registration information is also included in Exhibit 2.

      4.      Based on the above, I retained a professional process server to

attempt personal service on Defendant at the Florida address. On May 30, 2025,

the process server visited the location and spoke with an individual who stated they

were authorized to accept service. However, that individual stated that

SCAN2CAD INC. was unknown to them. As a result, service was not completed.

A true and correct copy of the process server’s declaration of non-service is

attached hereto as Exhibit 3.

      5.      On behalf of Plaintiff, Ms. Cassie Chen, Product Manager of Plaintiff,

contacted Mr. Yu via WeChat on May 18, 2025. Mr. Yu identified himself as a

representative of Shenzhen Musk Industrial Co., Ltd., which is believed to be

affiliated with Defendant and responsible for product lines in the same category as



                                          2
Case: 1:25-cv-05846 Document #: 12-1 Filed: 06/04/25 Page 3 of 4 PageID #:263




the accused product. During the conversation, Mr. Yu confirmed that he or his

company had submitted the Amazon infringement complaint in this case and

refused to withdraw it despite Ms. Chen’s request. According to the WeChat chat

interface, Mr. Yu is physically located in Shenzhen, China. A true and correct

copy of this conversation is attached hereto as Exhibit 4-1. See also Exhibit 4-2,

Declaration of Cassie Chen.

      6.        I also reviewed the Bibliographic Data Sheet submitted on December

10, 2024, in connection with the asserted patent. That document lists the applicant

SCAN2CAD INC. ’s address as located in Shanghai, China, which is materially

inconsistent with the Florida address listed in the USPTO Application Data Sheet

and the Florida Department of State’s corporate registration records. This

discrepancy further suggests that Defendant’s physical location is uncertain. A true

and correct copy of the Bibliographic Data Sheet is attached hereto as Exhibit 5.

      7.        Plaintiff has also obtained a copy of Defendant’s Amazon complaint

notice, which lists the contact email address 595507929@qq.com as associated

with SCAN2CAD INC. A true and correct copy of the complaint is attached hereto

as Exhibit 6.

      8.        On May 24, 2025, I sent an email to 595507929@qq.com with the

subject “Request for Immediate Withdrawal of Amazon Complaint No.

17735329741 Concerning ASIN B0DD32WPRH.” This email provided notice of



                                         3
Case: 1:25-cv-05846 Document #: 12-1 Filed: 06/04/25 Page 4 of 4 PageID #:264




the potential lawsuit and requested that Defendant withdraw its Amazon complaint.

The message did not bounce or trigger any delivery failure, but I received no

response. A true and correct copy of the email is attached hereto as Exhibit 7.

      9.      Attached hereto as Exhibit 8 is a judicial decision and related

documents cited in Plaintiff’s concurrently filed Memorandum of Law in Support

of Motion for Electronic Service of Process, including prior order from this District

authorizing email service.

      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct. Executed on June 4, 2025 at

Shenzhen, China.



                                                             Hongchang DENG




                                          4
